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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

        v.                                     CRIMINAL NO. 1:15CR70-4
                                                    (Judge Keeley)


 BRIAN K. WILSON,

                   Defendant.

             ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF GUILTY IN
      FELONY CASE (DKT. NO. 74) AND SCHEDULING SENTENCING HEARING

        On   September    22,    2015,   the    defendant,     Brian   K.    Wilson

 (“Wilson”), appeared before United States Magistrate Judge John S.

 Kaull and moved for permission to enter a plea of GUILTY to Count

 Six of the Indictment. Wilson stated that he understood that the

 magistrate judge is not a United States District Judge, and

 consented to pleading before the magistrate judge.              This Court had

 referred the guilty plea to the magistrate judge for the purposes

 of   administering      the    allocution     pursuant   to   Federal      Rule   of

 Criminal Procedure 11, making a finding as to whether the plea was

 knowingly and voluntarily entered, and recommending to this Court

 whether the plea should be accepted.

        Based upon Wilson’s statements during the plea hearing and the

 testimony of Matt Kocher, Greater Harrison County Drug and Violent

 Crimes Task Force, the magistrate judge found that Wilson was

 competent to enter a plea, that the plea was freely and voluntarily
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 given, that he was aware of the nature of the charges against him

 and the consequences of his plea, and that a factual basis existed

 for the tendered plea. On September 23, 2015, the magistrate judge

 entered an Opinion/Report and Recommendation Concerning Plea of

 Guilty in Felony Case (“R&R”) (dkt. no. 74) finding a factual basis

 for the plea and recommended that this Court accept Wilson’s plea

 of guilty to Count Six of the Indictment.

      The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. The magistrate judge further directed that

 failure to file objections would result in a waiver of the right to

 appeal from a judgment of this Court based on the R&R. The parties

 did not file any objections to the R&R.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Wilson’s guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Six of the Indictment.

      Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.



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       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

       1.    The Probation Officer shall undertake a presentence

 investigation of BRIAN K. WILSON, and prepare a presentence report

 for the Court;

       2.    The Government and Wilson are to provide their versions

 of the offense to the probation officer by December 7, 2015;

       3.    The presentence report is to be disclosed to Wilson,

 defense counsel, and the United States on or before December 21,

 2015; however, the Probation Officer is not to disclose the

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

       4.    Counsel may file written objections to the presentence

 report on or before January 4, 2016;

       5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before January 18, 2016;

 and

       6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the




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 factual    basis    from    the   statements    or   motions,   on   or   before

 February 1, 2016.

      The magistrate judge continued Wilson on bond pursuant to the

 Order Setting Conditions of Release (dkt. no. 17) entered on

 July 28, 2015 and amended on July 31, 2015 (dkt. no. 36.

      The    Court    will    conduct    the    sentencing   hearing    for   the

 defendant on Tuesday, February 9, 2016 at 12:15 P.M. at the

 Clarksburg, West Virginia point of holding court.

      It is so ORDERED.

      The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: October 7, 2015


                                        /s/ Irene M. Keeley
                                        IRENE M. KEELEY
                                        UNITED STATES DISTRICT JUDGE




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